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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 18-cv-1212-PAB-MEH

   LISA MILES a.k.a. ELISA MARIE MILES; and those similarly situated,

         Plaintiffs,

         v.

   BKP INC;
   ELLA BLISS BEAUTY BAR LLC;
   ELLA BLISS BEAUTY BAR - 2, LLC;
   ELLA BLISS BEAUTY BAR - 3, LLC;
   BROOKE VANHAVERMAAT;
   KELLY HUELSING; and
   PETER KOCLANES,

         Defendants.


                                 ENTRY OF APPEARANCE


         Steven M. Feder of Feder Law Firm hereby enters his appearance in the above-

   captioned civil action on behalf of Defendants BKP Inc.; Ella Bliss Beauty Bar LLC; Ella

   Bliss Beauty Bar - 2, LLC; Ella Bliss Beauty Bar - 3, LLC; Brooke Vanhavermaat; Kelly

   Huelsing; and Peter Koclanes.

   Date: October 2, 2023                    Respectfully submitted,

                                            s/ Steven M. Feder
                                            Steven M. Feder
                                            FEDER LAW FIRM
                                            625 E. 16th Avenue, West Wing
                                            Denver, Colorado 80203
                                            Phone: 303-221-5599
                                            Email: steve@federlawfirm.com
                                            Attorney for Defendants
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on October 2, 2023, a true and correct copy of the foregoing
   Entry of Appearance was filed and served electronically via CM/ECF to all counsel of
   record.

                                            s/ Barry Boughman




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